       Case 2:07-cr-01244-WJ          Document 479        Filed 08/28/09     Page 1 of 10




                          IN THE UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                 Plaintiff,

v.                                                           Crim No. 07-1244 WJ

DONALD SCOTT TAYLOR, et al.,

                 Defendant.


                     MEMORANDUM OPINION AND ORDER DENYING
                         MOTION FOR FOUR PHASE TRIAL

          THIS MATTER comes before the Court upon Defendant’s Motion for Four Phase Trial,

filed February 16, 2009 (Doc. 164). Having considered the parties’ briefs and the applicable

law, I find that oral argument is not necessary and that the motion is not well-taken and will be

denied.

                                           Background

          Defendant Donald Scott Taylor has been charged in a Superseding Indictment with

violent crimes in aid of racketeering, including the murder of Mr.Jimmy S. “Bo” Chunn in his

home in Causey, New Mexico, conspiracy to commit murder, conspiracy to manufacture

methamphetamine, and various firearm offenses.

          On July 17, 2008, the Government filed Notice of its Intent to Seek the Death Penalty

against Mr. Taylor. (Doc. 105.) In this Notice the United States alleged that Mr. Taylor

intentionally participated in an act of violence contemplating the death of Mr. Chunn, knowing

that it caused a grave risk of death to Mr. Chunn and which actually resulted in the murder of

Mr. Chunn. (Doc. 105, ¶ I.) The Government also alleged that Mr. Taylor committed the offense
       Case 2:07-cr-01244-WJ          Document 479         Filed 08/28/09       Page 2 of 10




of murder for pecuniary gain and after substantial planning and pre-meditation. (Doc. 105, ¶ II.)

       Finally, the Government has alleged a variety of “non-statutory” aggravating factors,

including that Mr. Taylor has engaged in a continuing pattern of violence, represents a

continuing danger to others, is likely to commit criminal acts of violence in the future, is

unlikely to be rehabilitated, lacks remorse and caused loss and harm to Mr. Chunn and his

family. Doc. 105, ¶ III.

       Defendant Taylor asserts that the FDPA1 unfairly denies capital defendants trial

protections available to all other defendants. To that end, Defendant Taylor is requesting that the

trial jury be divided into four separate phases. Specifically, Defendant requests that this Court

first conduct a “Merits” phase, where the jury hears evidence, receives instructions, deliberates,

and then determines whether Defendant is guilty of the charged offenses. From there, Defendant

seeks a second “Eligibility” phase wherein the jury determines whether the Defendant is eligible

for the death penalty via the consideration of gateway and statutory factors, set forth in 18

U.S.C. §§ 3591 and 3592, respectively. Defendant then wishes to have a third phase, involving

the determination of any nonstatutory aggravating evidence that involved unadjudicated criminal

activity. Lastly, Defendant seeks a fourth “Penalty” phase, in which the jury would decide the

appropriate punishment, considering “non-statutory” aggravating factors other than non-

adjudicated criminal activity; mitigating factors, and “the balance of all factors.” This would

essentially result in a guilt phase, followed by a trifurcated penalty phase.

       The Government urges the Court to reject such a procedure and instead conduct a guilty

phase, followed a unitary penalty phase, as contemplated by Congress, statute and the Tenth



       1
           The Federal Death Penalty Act (“FDPA”), 18 U.S.C. § 3591, et seq.

                                                  2
       Case 2:07-cr-01244-WJ          Document 479        Filed 08/28/09      Page 3 of 10




Circuit Pattern Jury Model Instructions for death penalty cases.

                                            Discussion

       Defendant is seeking a trifurcated penalty phase because he contends that the FDPA does

not afford him the constitutional protections of the Eighth Amendment. He argues that, under

Ring v. Arizona, 536 U.S. 584 (2002) and Apprendi v. New Jersey, 530 U.S. 466 (2000), an

aggravating factor increases the sentence beyond the maximum sentence authorized by the guilt

phase and, thus, is an element of the offense requiring a jury determination. He thus argues that

the FDPA is unconstitutional because eliminating the rules of evidence changes the nature of the

sentencing proceeding in allowing character evidence, hearsay evidence and victim impact

information without the protection afforded by those rules. Defendant asserts that determining

whether a defendant is death-eligible under the FDPA are functional equivalent of elements of

the capital offense, and thus should be afforded the same trial protections afforded to prove the

elements of a crime. Thus, Defendant contends, because the aggravating factors must be found

by a jury beyond a reasonable doubt, the evidentiary standards employed during the guilt phase,

including the right to confront and cross- examine witnesses, apply to the penalty phase.

       The Supreme Court in Apprendi held that “[o]ther than the fact of a prior conviction, any

fact that increases the penalty for a crime beyond the prescribed statutory maximum must be

submitted to a jury, and proved beyond a reasonable doubt.” Apprendi, 530 U.S. at 490. This

prescription governs, even if the State characterizes the additional findings as sentencing factors.

See id. at 494. The Supreme Court subsequently applied the rule announced in Apprendi to

aggravating factors in capital sentencing proceedings in Ring v. Arizona, holding that the Sixth

Amendment requires the jury to find the aggravating circumstances necessary for imposition of

the death penalty. See Ring, 536 U.S. at 609. The Supreme Court explained that, because the

                                                 3
       Case 2:07-cr-01244-WJ          Document 479        Filed 08/28/09      Page 4 of 10




State’s “enumerated aggravating factors operate as ‘the functional equivalent of an element of a

greater offense,’ . . . the Sixth Amendment requires that they be found by a jury.” Id. (quoting

Apprendi, 530 U.S. at 494 n.19).

       The FDPA, in accordance with Ring and Apprendi, requires the jury to find aggravating

factors unless the defendant, with the approval of the government, waives his right to the jury.

See 18 U.S.C. § 3593(b). Defendant nonetheless argues that the FDPA is unconstitutional

because he is constitutionally entitled to a sentencing proceeding that has the evidentiary

protections associated with trial. Rather than adopting the Federal Rules of Evidence that apply

at trial, the FDPA provides the following evidentiary standard at the penalty phase hearing:

“Information is admissible regardless of its admissibility under the rules governing admission of

evidence at criminal trials except that information may be excluded if its probative value is

outweighed by the danger of creating unfair prejudice, confusing the issues, or misleading the

jury.” 18 U.S.C. § 3593(c).

       Contrary to Mr. Taylor’s argument, neither Apprendi nor Ring discusses the evidentiary

standard that should apply in a penalty phase hearing, and thus, neither case compels finding the

FDPA unconstitutional based on its “relaxed” evidentiary standard. Defendant points to Justice

Scalia’s concurrence in Ring for the proposition that trial protections should apply to the

aggravating factors in capital sentencing proceedings. However, Justice Scalia’s comments did

not suggest that the Federal Rules of Evidence are constitutionally required in any proceeding in

which the jury is determining an element of a crime, but only that elements of an offense be

found by a jury beyond a reasonable doubt:

       I believe that the fundamental meaning of the jury-trial guarantee of the Sixth
       Amendment is that all facts essential to imposition of the level of punishment that
       the defendant receives-whether the statute calls them elements of the offense,

                                                 4
       Case 2:07-cr-01244-WJ          Document 479        Filed 08/28/09      Page 5 of 10




       sentencing factors, or Mary Jane-must be found by the jury beyond a reasonable
       doubt.

536 U.S. at 610.2 Further, Justice Scalia has since made clear, writing for a majority of the

Supreme Court in Crawford v. Washington, 541 U.S. 36 (2004), that constitutional standards of

admissible evidence and evidentiary standards reflected in the Federal Rules of Evidence are not

the same. See Crawford, 541 U.S. at 51 (“[N]ot all hearsay implicates the Sixth Amendment’s

core concerns. An off-hand, overheard remark might be unreliable evidence and thus a good

candidate for exclusion under hearsay rules, but it bears little resemblance to the civil-law abuses

the Confrontation Clause targeted. On the other hand, ex parte examinations might sometimes be

admissible under modern hearsay rules, but the Framers certainly would not have condoned

them”).

       Defendant argues that a unitary FDPA sentencing hearing does not provide adequate

safeguards insofar as the federal evidentiary rules do not apply in such a hearing. However, the

Constitution does not require a multi-phase sentencing hearing. The petitioner in Gregg v.

Georgia, 428 U.S. 153, 203-04 (1976), a capital case, objected to the wide scope of evidence and

argument allowed at presentence hearings. The United States Supreme Court rejected the

challenge, noting:

       We think that the Georgia court wisely has chosen not to impose unnecessary
       restrictions on the evidence that can be offered at such a hearing and to approve
       open and far-ranging argument. . . so long as the evidence introduced and the


       2
          Mr. Taylor also relies on other cases which hold that functional equivalents of an
element of a crime must be submitted to the jury and proved beyond a reasonable doubt. Such a
holding is a far cry from a holding or conclusion that the rules of evidence must apply to all
proceedings where those elements are being considered. See, e.g., United States v. Higgs, 353
F.3d 281, 298 (4th Cir.2003), cert. denied, 543 U.S. 999, 125 S.Ct. 627; United States v.
Buckland, 289 F.3d 558, 568 (9th Cir.2002) (en banc); United States v. Mills, 446 F.Supp.2d
1115, 1127- 1129 (C.D.Cal.,2006).

                                                 5
       Case 2:07-cr-01244-WJ           Document 479        Filed 08/28/09     Page 6 of 10




       arguments made at the presentence hearing do not prejudice a defendant, it is
       preferable not to impose restrictions. We think it desirable for the jury to have as
       much information before it as possible when it makes the sentencing decision.

428 U.S. at 203-04. Defendant argues that a divided sentencing proceeding is required after the

Supreme Court decisions in Sattazahn v. Pennsylvania, 537 U.S. 101 (2003) and Ring v.

Arizona, 536 U.S. 584. However, those cases did not modify the FDPA’s evidentiary standard,

but merely established that the procedure for finding an aggravating factor must involve a jury

finding.

       Defendant’s argument that the FDPA is unconstitutional in its relaxed evidentiary

standard has been rejected by the Tenth Circuit in U.S. v. Barrett, 496 F.3d 1079 (10th Cir.

2007). The Tenth Circuit found persuasive the reasoning applied by the Second, Fourth, Fifth,

and Eighth Circuits which addressed a similar challenge to a virtually identical evidentiary

standard in 21 U.S.C. § 848(j). The Tenth Circuit explained its reasoning as follows:

       Although not directly on point, the Second, Fourth, Fifth, and Eighth Circuits
       have expressly rejected claims that a nearly identical provision of the FDPA, 18
       U.S.C. § 3593(c), is unconstitutional. In doing so, the Fourth Circuit noted that
       “[t]he Evidence Rules do not set forth the constitutional parameters of admissible
       evidence, nor does a criminal defendant have a constitutional right to have the
       [Evidence Rules] in place.” Instead, the Fourth Circuit noted, “the FDPA provides
       a capital defendant with constitutionally sufficient evidentiary protections”
       because, “[e]ven without the protections of the Evidence Rules, it remains for the
       [district] court, in the exercise of its judgment and discretion, to ensure that
       unconstitutional evidence otherwise admissible under applicable evidentiary rules
       is excluded from trial.” Similarly, the Second Circuit noted that the FDPA’s
       evidentiary standard is “both constitutionally permissible and relevant to the
       determination of whether the death penalty should be imposed in a given case.”
       Indeed, the Second Circuit noted, “the FDPA does not undermine heightened
       reliability,” but rather “promotes it.”

496 F.3d at 1109.

           The Constitution permits a jury to consider both guilt and capital punishment at the same

time. See McGautha v. Calif.,402 U.S. 183, 213-20 (1971), vacated on other grds, 408 U.S. 941

                                                  6
       Case 2:07-cr-01244-WJ          Document 479          Filed 08/28/09     Page 7 of 10




(1972) (holding that defendant’s constitutional rights were not infringed by jury’s determination

of guilt and penalty after single trial and single verdict). While single-verdict trials may have

ramifications for whether a defendant decides to testify, such considerations do not deprive a

defendant of due process.3 See also,.U.S. v. Johnson, 362 F.Supp.2d 1043, 1103 (N.D. Iowa

2005) (holding that proceedings that are only bifurcated as provided by U.S.C. § 848(j) do not

violate the Supreme Court’s Apprendi line of cases, and noting that the Apprendi line of cases

only requires in order to satisfy constitutional standards, that any aggravating factor without

which the death penalty cannot be imposed must be charged in an indictment and proved to a

jury beyond a reasonable doubt).4

       The FDPA, by its express terms and structure, clearly contemplates a single penalty

phase hearing. It has no provision for the bifurcation – much less trifurcation – of a capital case

penalty phase. Instead, the language of the FDPA is replete with references to a single hearing.

Section 3591(a)(2), which creates the mental state requirement before a defendant is eligible for

the death penalty, refers to a “hearing” in the singular:

       A defendant who has been found guilty of-- any other offense for which a
       sentence of death is provided, if the defendant, as determined beyond a reasonable
       doubt at the hearing under section 3593–shall be sentenced to death if, after
       consideration of the factors set forth in section 3592 in the course of a hearing


       3
          For example, as noted by the Supreme Court in McGautha, a single-verdict trial “may
deter the defendant from bringing to the jury’s attention evidence peculiarly within his own
knowledge, and it may mean that the death verdict will be returned by a jury which never heard
the sound of his voice.” Nevertheless, the Court found due process did not require the Ohio
court to “provide an opportunity for petitioner to speak to the jury free from any adverse
consequences on the issue of guilt.” 402 U.S. at 220.
       4
          The Johnson court found that the “trifurcation” which defendant sought was not
“necessarily inconsistent” with the statutory scheme, and ultimately decided to trifurcate
proceedings to avoid potential unfair prejudice, jury confusion, and misdirection in choice of
sentence. 362 F.Supp.2d at 1104.

                                                  7
       Case 2:07-cr-01244-WJ           Document 479         Filed 08/28/09      Page 8 of 10




       held pursuant to section 3593, it is determined that imposition of a sentence of
       death is justified.

18 U.S.C. §3591(a)(2) (emphasis added).

       Section 3593 provides for a “Special hearing to determine whether a sentence of death is

justified” and sets forth the procedures for this hearing, specifically:

       If the attorney for the government has filed a notice as required under subsection
       (a) and the defendant is found guilty of or pleads guilty to an offense described in
       section 3591, the judge who presided at the trial or before whom the guilty plea
       was entered, or another judge if that judge is unavailable, shall conduct a separate
       sentencing hearing to determine the punishment to be imposed.

18 U.S.C. § 3593(b) (emphasis added). See also § 3593(c) (“At the sentencing hearing,

information may be presented as to any matter relevant to the sentence, including any mitigating

or aggravating factor permitted or required to be considered ”); § 3593(d)(“ . . . The jury, or if

there is no jury, the court, shall consider all the information received during the hearing”).

       In addition, the Tenth Circuit’s Model Instructions for death penalty cases envisions a

unitary, not a bifurcated or trifurcated penalty phase – which in turn reflects an understanding

that the statutory scheme requires a unitary sentencing hearing. Model Instruction 3.02

(“summary of deliberative process”) advises the jury as to the step-by-step order that will be

followed. The instruction is clear that the jury is to first make the eligibility determination, after

all the evidence is completed, and that the jury’s work is over if any of the eligibility facts are

not found unanimously and beyond a reasonable doubt. Model Instructions 3.05 and 3.06 state

that the findings as to age and mens rea must be made before a jury “may consider whether the

death penalty is an appropriate sentence in this case,” and Model Instruction 3.08 requires a

finding as to the statutory aggravating factors, again, before the jury may consider whether the

death penalty is an appropriate sentence.


                                                  8
       Case 2:07-cr-01244-WJ           Document 479         Filed 08/28/09       Page 9 of 10




       These instructions are consistent with the relevant case law that has been discussed

herein. See Gardetto v. Mason, 100 F.3d 803, 816 (10th Cir. 1996) (court’s jury instructions

must correctly state the applicable law). The Supreme Court has repeatedly emphasized that, in a

capital penalty phase hearing, it is essential that the jury have before it all possible relevant

information about the defendant in order to accomplish the individualized sentencing required by

the Eighth Amendment. See Jurek v. Texas, 428 U.S. 262, 276 (1976); Gregg v. Georgia, 428

U.S. at 203-04 (“so long as the evidence introduced and the arguments made at the presentence

hearing do not prejudice a defendant, it is preferable not to impose restrictions. We think it

desirable for the jury to have as much information before it as possible when it makes the

sentencing decision.”). See United States v. Fell, 360 F.3d 135, 143 (2d Cir. 2004) (“Facts

relevant to sentencing are far more diffuse than matters relevant to guilt for a particular crime. . .

. [I]t is appropriate for the sentencing authority, whether jury or judge, to consider a defendant’s

whole life and personal make-up.”).

       Finally, as the Government points out, a unitary sentencing hearing makes common sense

and is more practical, in light of the jury’s function and directive in a capital case. See e.g., 18

U.S.C. §3593(e) (“the jury. . . shall consider whether all the aggravating factor or factors found

to exist sufficiently outweigh all the mitigating factor or factors found to exist to justify a

sentence of death”). A divided penalty phase could potentially confuse the jury by the

separation of the determination of the existence of multiple aggravating factors (statutory and

non-statutory) and the requirement that the jury weigh all aggravators in the final stage. The

result may be an unfair dilution of the weight the jury would give to the statutory aggravating

factors found in the earlier deliberations.

       By making the Federal Rules of Evidence inapplicable to the penalty phase, the FDPA

                                                   9
      Case 2:07-cr-01244-WJ           Document 479         Filed 08/28/09      Page 10 of 10




helps ensure that the jury can consider all relevant aggravating and mitigating evidence, some of

which may otherwise be inadmissible under traditional evidentiary restraints. Additionally, the

FDPA provides even greater protection against prejudicial information than the Federal Rules of

Evidence, because the FDPA permits a judge to exclude information whose probative value is

outweighed by the danger of unfair prejudice, rather than the “substantially outweighed”

standard set forth in Rule 403. See U.S. v. Jones, 132 F.3d 232, 240 (5th Cir. 1998) (citing 18

U.S.C. § 3593(d)).

                                             Conclusion

       The Court finds and concludes that the FDPA provides the means to exclude

unconstitutional and prejudicial evidence from the penalty phase. The Court will exercise its

judgment and discretion to ensure that any such evidence is excluded therefrom. Defendant’s

Confrontation Clause concerns therefore do not mandate striking down the FDPA as

unconstitutional. The FDPA’s evidentiary standard embodies policy decisions made by

Congress. As long as that standard is constitutional, it is not the Court’s role to change it.

       There is no constitutional requirement of due process which mandates that the penalty

phase be trifurcated, as Defendant requests. Congressional intent to have a single penalty phase

is reflected in the FDPA’s language and structure and in the relevant case law, including the

cases and Model Instructions from our own Circuit.

       THEREFORE,

       IT IS ORDERED that Defendant’s Motion for Four Phase Trial (Doc. 164) is hereby

DENIED, for reasons set forth in this Memorandum Opinion and Order.




                                               UNITED STATES DISTRICT JUDGE



                                                  10
